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    $25HY 6XPPRQVLQD&LYLO$FWLRQ
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                                            81,7('67$7(6',675,&7&2857
                                                                           IRUWKH
                                                             6RXWKHUQ'LVWULFWRI1HZ<RUN
                                                           BBBBBBBBBB'LVWULFWRIBBBBBBBBBB 

0LFKDHO8QGHUZRRG                                                       
                                                                              
                                 Plaintiff(s)                                
                                                                              
                                      Y                                     
                                                                                     &LYLO$FWLRQ1R
7$)6&+RXVLQJ'HYHORSPHQW)XQG&RUSRUDWLRQ                               
  7KH7KLUG$YHQXH)DPLO\6HUYLFH&HQWHU,QF                              
  /LQGD:DVKLQJWRQ&LW\RI1HZ<RUNDQG1HZ                                
  <RUN6WDWH+RPHOHVV+RXVLQJ$QG$VVLVWDQFH                                 
  &RUSRUDWLRQ
                                                                              


                                Defendant(s)

                                                           6800216,1$&,9,/$&7,21

    7R(Defendant’s name and address) 7$)6&+RXVLQJ'HYHORSPHQW)XQG&RUSRUDWLRQ7KH7KLUG$YHQXH)DPLO\6HUYLFH&HQWHU
                                                 ,QF/LQGD:DVKLQJWRQ&LW\RI1HZ<RUNDQG1HZ<RUN6WDWH+RPHOHVV+RXVLQJ$QG
                                                 $VVLVWDQFH&RUSRUDWLRQ
                                                 +DOO3ODFH%URQ[1<


                $ODZVXLWKDVEHHQILOHGDJDLQVW\RX

             :LWKLQGD\VDIWHUVHUYLFHRIWKLVVXPPRQVRQ\RXQRWFRXQWLQJWKHGD\\RXUHFHLYHGLW²RUGD\VLI\RX
    DUHWKH8QLWHG6WDWHVRUD8QLWHG6WDWHVDJHQF\RUDQRIILFHURUHPSOR\HHRIWKH8QLWHG6WDWHVGHVFULEHGLQ)HG5&LY
    3DRU²\RXPXVWVHUYHRQWKHSODLQWLIIDQDQVZHUWRWKHDWWDFKHGFRPSODLQWRUDPRWLRQXQGHU5XOHRI
    WKH)HGHUDO5XOHVRI&LYLO3URFHGXUH 7KHDQVZHURUPRWLRQPXVWEHVHUYHGRQWKHSODLQWLIIRUSODLQWLII¶VDWWRUQH\
    ZKRVHQDPHDQGDGGUHVVDUH $EGXO+DVVDQ/DZ*URXS3//&
                                             +LOOVLGH$YHQXH
                                             4XHHQV9LOODJH1<
                                             7HO
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           ,I\RXIDLOWRUHVSRQGMXGJPHQWE\GHIDXOWZLOOEHHQWHUHGDJDLQVW\RXIRUWKHUHOLHIGHPDQGHGLQWKHFRPSODLQW
    <RXDOVRPXVWILOH\RXUDQVZHURUPRWLRQZLWKWKHFRXUW
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                                                                                         CLERK OF COURT

                 7/26/2018                                                                    /s/ J.
    'DWH                                       
                                                                                                     Gonzalez
                                                                                                   Gonzal                               




                                                                                                    Signature of
                                                                                                              o Clerk or Deputy Clerk
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